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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

CITIZENS FOR A BETTER KENNER, INC.                            CIVIL ACTION

VERSUS                                                        NUMBER:

PERFECT PRIVACY, LLC, A WEB.COM                               JUDGE:
COMPANY and JOHN DOE

                                         COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes the Complainant, Citizens for

a Better Kenner, Inc., who respectfully avers as follows:

                                           PARTIES

                                                1.

       Complainant, Citizens for a Better Kenner, Inc., is a non-profit corporation formed and

existing under the laws of the State of Louisiana and properly chartered and/or registered with the

Louisiana Secretary of State.

                                                2.

       Made Defendants herein are:

       1. Perfect Privacy, LLC, a Web.com Company, a limited liability company who, upon

           information and belief, is formed and existing under the laws of the State of Florida

           and doing business within the jurisdiction of this Honorable Court; and

       2. John Doe, an unknown person or entity who, upon information and belief is domiciled

           within the jurisdiction of this Honorable Court.




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                                 JURISDICTION AND VENUE

                                                 3.

        Jurisdiction is proper in this Honorable Court as the matter at hand centers around a

violation of 15 U.S. Code Sec. 1125 and/or other United States Federal Law.

                                                 4.

        Venue is proper in this Honorable Court.

                                  FACTUAL BACKGROUND

                                                 5.

        Citizens for a Better Kenner, Inc., hereinafter referred to as CFBK, is a non-profit, good

government group which does not make political endorsements of candidates, but does investigate

and publicly comment on any and all government actions and endeavors in the City of Kenner,

State of Louisiana. CFBK has been in existence and in good standing with the Louisiana Secretary

of State since February 2011. The group is comprised of an eclectic mix of private citizens who

are not elected officials.

                                                 6.

        CFBK owned and utilized the domain name www.citizensforabetterkenner.com and/or

.org/.net since 2011, close to or shortly after properly registering with the Louisiana Secretary of

State. On this website, the group dispensed its opinions on various matters concerning the City

of Kenner. The website was linked via social media outlets of CFBK. The domain name was

chosen because it was an exact match of the name of the group which limited confusion for the

public wishing to view the opinions and publications of CFBK.




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                                               7.

       At some point, CFBK overlooked renewal for the domain name(s). Unbeknownst to

CFBK, another party purchased the domain name. CFBK did not know they had made any

oversight until a member viewed the website and realized that the content of the site had changed

and was inaccurate as pertains to the opinions and direction of CFBK and contained a statement

not issued, approved, nor supported by CFBK.

                                               8.

       CFBK researched the issue and determined that the domain name was registered to

Defendant, Perfect Privacy, LLC, a Web.com Company, hereinafter referred to as Perfect Privacy.

                                               9.

       Perfect Privacy advertises its services as “private domain registrations” and that it can

“protect your identity online”.

                                               10.

       Upon information and belief, Defendant, John Doe, purposefully registered ownership of

www.citizensforabetterkenner.com through Perfect Privacy to intentionally conceal its identity.

                                               11.

       Defendants, either individually or collectively, have caused the content of

www.citizensforabetterkenner.com to read, in summary, thanking Mayor Ben Zahn and the

Kenner City Council and Chief of Police for “moving the City in the right direction”. The

content goes on to state that “The overwhelming volume of Kenner residents appreciates what

you do!” It then ends with the salutation, “Thank you from www.citizensforabetterkenner.com”.




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                                               12.

       The opinions and content as currently displayed on the website are in stark contrast to the

actual opinions of the actual CFBK.

                                               13.

       Defendants are utilizing and profiting from the political and/or otherwise goodwill of

CFBK created and held over the course of its existence which exceeds eight (8) years.

                                               14.

       “Citizens for a Better Kenner” constitutes a mark.

                                               15.

       Defendants have secured more than one domain which is identical or confusingly similar

to the mark of CFBK. By seeking www.citizensforabetterkenner.org and

www.citizensforabetterkenner.net, any user is automatically directed to the site and content of

www.citizensforabetterkenner.com.

                                      CAUSE OF ACTION

                                               16.

       Defendants are in violation of 15 U.S. Code Sec. 1125, specifically the portion also

known as the AntiCybersquatting Consumer Protection Act.

                                               17.

       Defendants have registered and currently utilize the domain

www.citizensforabetterkenner.com.




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                                                 18.

       The domain www.citizensforabetterkenner.com, as well as .org and .net, are identical

and/or confusingly similar to Citizens for a Better Kenner, Inc. In addition, it is the exact website

used by CFBK for over eight (8) years and which is linked via social media accounts of CFBK.

                                                 19.

       Defendants, either individually or collectively, have a bad faith intent to profit from the

goodwill created over eight (8) years by CFBK. This is evidenced by:

   1. The content placed upon the site by the Defendants;

   2. The specific intent of Defendant, John Doe, to hide its identity by registering the domain

       through Defendant, Perfect Privacy;

   3. The mark rights of CFBK;

   4. The fact that the domain name is the exact same as the official name for CFBK;

   5. The eight (8) years of service provided by CFBK through the website and other means;

       and

   6. The clear confusion caused by the improper uses of the domain which is confusingly

       similar or identical to CFBK which harms the goodwill of CFBK, tarnishes and

       disparages CFBK, and clearly creates confusion as to the source, sponsorship, affiliation,

       and/or endorsements of CFBK.

                                                 20.

       Pursuant to 15 U.S. Code Sec. 1117(d), Complainant desires a statutory award of

damages between $1000.00 and $100,000.00 per domain name, which in this case consists of at

least three (3) domain names at the time of the filing of this Complaint subject to amendment as

well as all attorney fees and costs associated with this Complaint.



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                                                21

       CFBK desires, and is entitled to, a return of ownership of the domain name

www.citizensforabetterkenner.com as well as .net and .org or any other variations thereof owned

or controlled by any Defendant.

       WHEREFORE, Complainant, Citizens for a Better Kenner, Inc., respectfully prays that

after all due and legal proceedings are had herein, there be judgment herein in favor of

Complainant and against Defendants for statutory damages in the amount of $1000.00 to

$100,000.00 per domain name, all attorney fees and costs associated with this Complaint, and

return of ownership of the domain www.citizensforabetterkenner.com as well as .net and .org

and any other similar domains owned or controlled by the Defendants.



                                                     Respectfully submitted,


                                                     S/ Stephen M. Petit, Jr.
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